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COMPLAINT AND DEMAND FOR JURY TRIA[_J

V_ ®

WILSON CONSOLIDATION SERVICES, INC.,
And FRANK JOHNSON,
Defendants

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Plaintiff Robert J. Threlfall brings this action as a result of conduct engaged in by
defendants in attempting to collect an alleged consumer debt, Which conduct violated the
F air Debt Collection Practices Act (“FDCPA”) and G.L. c. 93A, the Massachusetts
Consumer Protection Act. Plaintit`f asserts both individual and class claims for relief
seeking actual and statutory damages, costs, and reasonable counsel fees.

M
l. Plaintiff Robert J. Threlfall is an individual Who at all times relevant to this complaint
has resided in
2. Defendant Wilson Consolidation Services, Inc. (“WCS”) is a Massachusetts
corporation having a principal place of business in Lakeville, Massachusetts. At all times

relevant to this complaint, WCS was engaged in trade or commerce.

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3. Defendant Frank Johnson (“Johnson”) is an individual who at relevant times was
employed as a collector by WCS. On information and belief, the name “F rank Johnson”
may be an alias in part or in whole.

Jurisdiction and Venue
4. Certain of plaintiffs claims arise under 15 U.S.C. §1692 et seq. and this Court
therefore has subject matter jurisdiction over said claims pursuant to 15 U.S.C. §l692k(d)
and 28 U.S.C. §1337. This Court also has supplemental jurisdiction pursuant to 28
U.S.C. §1367 to hear and adjudicate plaintiffs claims arising under state law.
5. Venue is proper in this district pursuant to 28 U.S.C. §l39l(b).

Statement of Facts

6. WCS is a “debt collector” within the scope of 15 U.S.C. §1692a(6) and 209 CMR
18.02 in that it uses an instrumentality of interstate commerce or the mails in a business
the principal purpose of which is the collection of any consumer debts, and/or regularly
collects or attempts to collect, directly or indirectly, consumer debts owed or due or
asserted to be owed or due another.
7. On July 6, 2006, Johnson left a phone message for plaintiff asking to speak to plaintiff
about a “legal matter.”
8. Plaintiff returned the call and spoke to Johnson. Johnson told plaintiff that WCS was
attempting to collect a $2,000 debt which plaintiff owed to the Rockland Credit Union.
Plaintiff responded that he did not owe or even remember such an obligation Johnson
replied that unless plaintiff paid the debt immediater he would be sued and the debt

reported to credit bureaus. When plaintiff then asked Johnson to provide some proof of

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the debt, Johnson responded in a rude and angry tone: “That’s not the way it works. I’m
in charge here.”
9. Plaintiff then asked to speak to a manager and was connected to a woman who
identified herself as “Amy Smith.” Plaintiff explained to Smith that he simply wanted
some information about the alleged debt. Smith stated that she would look into it.
10. Later the same day, WCS faxed a letter to plaintiff at his place of business The
letter stated in pertinent part that WCS would accept a settlement for less than full value
of the alleged debt provided it was paid by July 15, 2006, and further stated: “[t]his
account will be removed from all three major credit reports upon successful clearance of
your check.”
ll. On July ll, 2006, plaintiff received a letter in the mail from WCS at his place of
business It bore the same date as the first letter » July 6, 2006. This letter did not refer
to any settlement offer, instead stating to the contrary: “Please mail the full balance to
avoid any further action.”
Individual Claims for Relief
COUNT I
('I`he Johnson Phone Message - Violation of 15 U.S.C. §1692e)
12. The allegations of paragraphs l - ll are incorporated herein as if hally set forth.
13. The phone message left by Johnson referring to a “legal matter” was false,
misleading, and deceptive in violation of 15 U.S.C. §1692e since no suit on the alleged
debt had been filed and none was imminent

14. As a result of said conduct, plaintiff suffered anxiety and distress

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WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS and Johnson, jointly and severally, awarding him actual damages; statutory
damages; interest, costs and reasonable attorney’s fees.
COUNT II
(The Johnson Phone Message - Violation of G.L. c. 93A)
15. The allegations of paragraphs l - 14 are incorporated herein as if fully set forth.
16. The phone message left by Johnson referring to a “legal matter” was unfair and
deceptive in violation of G.L. c. 93A, section 2.
17. As a result of said conduct, plaintiff suffered anxiety and distress.
18. Said unlawful conduct was willful and knowing in nature.
19. On July 13, 2006, plaintiff sent to WCS via certified mail, receipt requested, a
demand for relief pursuant to G.L. c. 93 A, section 9 which reasonably described the
unlawful conduct complained of and injuries suffered.
20. WCS received plaintist demand letter on July 14, 2006.
21. WCS did not make a reasonable written tender of settlement within 30 days of
receipt of plaintiff’ s demand letter.
22. The failure of WCS to make a timely and reasonable written tender of settlement was
in bad faith with knowledge or reason to know that its conduct violated G.L. c. 93A.
WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages or twenty-five dollars, whichever is greater; doubling
or trebling the actual damages awarded; and awarding interest, costs, and reasonable

attorney’s fees.

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COUNT III
(The Johnson Phone Call - Violations of 15 U.S.C. §1692€)

23. The allegations of paragraphs l - 22 are incorporated herein as if fully set forth.
24. When Johnson told plaintiff he would be sued if he did not pay the alleged debt, no
decision had in fact been made on taking legal action. In addition, on information and
belief WCS does not bring collection lawsuits against consumer debtors. Said conduct
was therefore false, deceptive, and misleading in violation of 15 U.S.C. §1692e.
25. Johnson’s statement to plaintiff that the account would be reported to credit bureaus
was false, misleading, and deceptive in violation of 15 U.S.C. §1692e since
Massachusetts law prohibits debt collectors from reporting in their own names and, on
information and belief, WCS had not been authorized to report in the name of the
creditor.
26. Johnson’s refusal to acknowledge plaintiffs right to verification of the alleged debt
was false_, misleading and deceptive in violation of 15 U.S.C. §1692e.
27. As a result of said conduct, plaintiff suffered anxiety and distress.

WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS and Johnson, jointly and severally, awarding him actual damages, statutory
damages, interest, costs, and attorney’s fees.

COUNT IV
(The Johnson Phone Call - Violations of G.L. c. 93A)

28. The allegations of paragraphs 1 _ 27 are incorporated herein as if fully set forth.
29. The afore-described statements made by Johnson were unfair and deceptive in

violation of G.L. c. 93A, section 2.

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30. As a result of said conduct, plaintiff suffered anxiety and distress.
31, Johnson’s unlawful conduct was willful and knowing in nature.
32. On July 13, 2006, plaintiff sent to WCS via certified mail, receipt requested, a
demand for relief pursuant to G.L. c. 93A, section 9 which reasonably described the
unlawful conduct complained of and injuries suffered.
33. WCS received plaintiff s demand letter on July 14, 2006.
34. WCS did not make a reasonable written tender of settlement within 30 days of
receipt of plaintiff s demand letter.
35. The failure of WCS to make a timely and reasonable written tender of settlement was
in bad faith with knowledge or reason to know that its conduct violated G.L. c. 93A.
WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages or twenty-five dollars, whichever is greater', doubling
or trebling the actual damages awarded; and awarding interest, costs, and reasonable
attomey’s fees.
COUNT V
(The Johnson Phone Call - Violatiou of 15 U.S.C. §16921`)
36. The allegations of paragraphs 1 -35 are incorporated herein as if fully set forth.
37. Johnson’s rude and angry statement to plaintiff that “That’s not the way it works.
I’m in charge here” constituted conduct the natural consequence of which was to abuse
and harass the plaintiff in violation of 15 U.S.C. §1692f.

38. As a result of said conduct, plaintiff suffered anxiety and distress

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WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS and Johnson, jointly and severally, awarding him actual damages; statutory
damages; interest, costs, and attorney’s fees.
COUNT VI
(The Johnson Phone Call ~ Violation of G.L. c. 93A)
39. The allegations of paragraphs 1 - 38 are incorporated herein as if fully set forth.
40. Johnson’s statement constituted conduct the natural consequence of which was to
abuse or harass the plaintiff and thus violated 209 CMR 18.15 and G.L. c. 93A, §2.
41. As a result of said conduct, plaintiff suffered anxiety and distress
42. Said unlawful conduct was willful and knowing in nature.
43. On July 13, 2006, plaintiff sent to WCS via certified mail, receipt requested, a
demand for relief pursuant to G.L. c. 93A, section 9 which reasonably described the
unlawful conduct complained of and injuries suffered
44. WCS received plaintiffs demand letter on July 14, 2006.
45. WCS did not make a reasonable written tender of settlement within 30 days of
receipt of plaintiff s demand letter.
46. The failure of WCS to make a timely and reasonable written tender of settlement was
in bad faith with knowledge or reason to know that its conduct violated G.L. c. 93A.
WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages or twenty-five dollars, whichever is greater; doubling
or trebling the actual damages awarded; and awarding interest, costs, and reasonable

attorney’s fees.

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COUNT VII
(The Second July 6 Letter - Violation of 15 U.S.C. 1692e)
47. The allegations of paragraphs l - 46 are incorporated herein as if fully set forth.
48. The letter of July 6, 2006 mailed to plaintiff by WCS was false, misleading, and
deceptive in demanding full payment when the letter faxed to him on July 6, 2006
contained a settlement offer which could be accepted until July 15, 2006.
49. As a result of said conduct, plaintiff suffered anxiety and distress
WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages; statutory damages, interest, costs, and attomey’s
fees
COUNT VIII
(The Second July 6 Letter - Violation of G.L. c. 93A)
50. The allegations of paragraphs l _ 49 are incorporated herein as if fully set forth.
51. The letter of July 6, 2006 demanded payment in full even though a prior letter
contained a settlement offer which could be accepted until July 15, 2006, and thus was
unfair and deceptive in violation of G.L. c. 93A, section 2.
52. As a result of said conduct, plaintiff suffered anxiety and distress
53. Said unlawful conduct was willful and knowing in nature.
54. On July 13, 2006, plaintiff sent to WCS via certified mail, receipt requested, a
demand for relief pursuant to G.L. c. 93A, section 9 which reasonably described the
unlawful conduct complained of and injuries suffered.

55. WCS received plaintiffs demand letter on July 14, 2006.

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56. WCS did not make a reasonable written tender of settlement within 30 days of
receipt of plaintiffs demand letter.
57. The failure of WCS to make a timely and reasonable written tender of settlement was
in bad faith with knowledge or reason to know that its conduct violated G.L. c. 93A.
WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages or twenty-five dollars, whichever is greater; doubling
or trebling the actual damages awarded; and awarding interest, costs, and reasonable
attomey’s fees
COUNT IX
(Unlawful Contact - Violation of 15 U.S.C. §1692c
58. The allegations of paragraphs 1 - 11 are incorporated herein as if fully set forth.
59. On July 11, 2006, after receipt of the second July 6 letter from WCS, plaintiffs
counsel sent to WCS via fax and first class mail a letter of legal representation which
instructed WCS to cease contact with plaintiff
60. On July 13, 2006, plaintiff sent to WCS via certified mail, receipt requested, a
demand for relief pursuant to G.L. c. 93A, section 9 which reasonably described the
unlawful conduct complained of and injuries suffered.
61. WCS received plaintiffs demand letter on July 14, 2006.
62. On August 31, 2006, and again on September 4, 2006, WCS called plaintiff
regarding the alleged debt even though WCS had been notified of plaintiff s
representation by counsel and had been instructed not to contact plaintiff, thus violating

15 U.s.C. §§1692¢(¢) and (a)(z)

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63. ln said calls, WCS left messages regarding the alleged debt, referring to it as a “legal
matter,” thus violating 15 U.S.C. §1692e.
64. As a result of said conduct, plaintiff suffered anxiety and distress

WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages; statutory damages, interest costs, and attorney’s
fees.

COUNT X
(Unlicensed Debt Collection - Violation of 15 U.S.C. §1692

65. The allegations of paragraphs l - 64 are incorporated herein as if fully set forth.
66. Since February 24, 2004, in order to conduct business in Massachusetts, every “debt
collector” as defined by G.L. c. 93, §24 was required to obtain a license from the
Commissioner of Banks.
67. At all times relevant to this complaint WCS was engaged in the business of debt
collection in Massachusetts, yet at no time was it licensed as required by G.L. c. 93,
§24A.
68. The alleged debt which was the subject of the collection actions described in this
complaint was obtained primarily for personal, family, or household purposes
69. The conduct of WCS in attempting to collect the alleged debt without being licensed
to do so in the Commonwealth of Massachusetts was false, deceptive, and misleading in
violation of 15 U.S.C. §1692e.
70. As a result of said conduct, plaintiff suffered financial harm in the form of fees paid

and/or pledged in order to obtain legal counsel, and suffered anxiety and distress

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WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages; statutory damages, interest costs, and attomey’s
fees

COUNT XI
(Unlicensed Debt Collection - Violation of G.L. c. 93A)

71. The allegations of paragraphs 1 - 70 are incorporated herein as if fully set forth.
72. The conduct of WCS in attempting to collect the alleged debt from plaintiff without
being licensed to do so in the Commonwealth of Massachusetts was unfair and deceptive
in violation of G.L. c. 93A, §2.
73. AS a result of Said conduct, plaintiff suffered financial harm in the form of fees paid
and/or pledged in order to be represented by legal counsel.
74. The unlawful conduct of WCS was willful and knowing in nature.
75. On July 13, 2006, plaintiff sent to WCS via certified mail, receipt requested, a
demand for relief pursuant to G.L. c. 93A, section 9 which reasonably described the
unlawful conduct complained of and injuries suffered
76. WCS received plaintiffs demand letter on July 14, 2006.
77. WCS did not make a reasonable written tender of settlement within 30 days of
receipt of plaintiff s demand letter.
78. The failure of WCS to make a timely and reasonable written tender of settlement was
in bad faith with knowledge or reason to know that its conduct violated G.L. c. 93A.

WHEREFORE, plaintiff prays that this Honorable Court enter judgment against
WCS awarding him actual damages or twenty-five dollars, whichever is greater; doubling

or trebling any actual damages awarded; and awarding interest costs, and attomey’s fees

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Class Action Claims
COUNT XII
(“Removal” of Account from Credit Bureaus - 15 U.S.C. §1692e)
79. The allegations of paragraphs l - 78 are incorporated herein as if fully set forth.
80. The statement in the first July 6, 2006 letter to plaintiff that upon clearance of
plaintiffs check his account “will be removed from all three major credit reports” was
false, misleading, and deceptive in violation of 15 U.S.C. §l692e. At the time said letter
was sent, plaintiffs account had not been reported to or listed by any “credit bureaus.”
l'\/loreover1 n information and belief, at the time the letter was sent WCS did not know
whether the account had been reported to or listed by any credit bureau and, in any event,
WCS had no ability or authority to have it “removed.”
81. As a result of said conduct, plaintiff suffered anxiety and distress
Class Allegations
82. Plaintiff brings this count of the complaint on behalf of himself and all others
similarly situated. Class members are all Massachusetts residents who, within one (1)
year of the filing of this complaint, were sent one or more letters by WCS in connection
with a consumer debt containing the above or substantially similar language, which letter
was not returned to sender. Excluded from the class are current and former officers,
directors employees and agents of WCS. On information and belief, the class is
sufficiently numerous such that joinder is impracticable
83. There are questions of law and fact common to the class, which questions
predominate over any questions particular to individual class members The primary

common questions are whether WCS is a debt collector under the FDCPA, whether WCS

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had the ability and authority to have class members’ accounts “removed” from credit
bureaus, and whether the subject language violated the FDCPA.
84. Plaintiffs claim is typical in that it resulted from the same unlawful conduct, and
resulted in similar harm, as class members All class members seek, and are entitled to,
similar relief.
85. Plaintiff will fairly and adequately represent the interests of class members Plaintiff
is committed to a thorough and vigorous prosecution of this action, and has selected
counsel with substantial experience in consumer class action litigation Neither plaintiff
nor counsel have any conflicts which would interfere with the successful prosecution of
this case.
86. A class action is manageable and is a superior method for resolving this controversy,
as the claims of most class members are relatively small and thus would be unlikely to be
filed as individual actions

WHEREFORE, plaintiff prays that this Honorable Court :

(i) award plaintiff and class members actual damages;

(ii) award plaintiff and class members statutory damages;

(iii) award plaintiff and class members interest, costs, and attorney’s fees;

(iv) award such further relief as shall be just and proper.

COUNT XII
(“Removal” of Account from Credit Bureaus - Violation of G.L. c. 93A)

87. The allegations of paragraphs l - 86 are incorporated herein as if fully set forth.
88. The false, misleading, and deceptive statement of WCS in the July 6, 2006 letter

violated G.L. c. 93A, section 2.

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89. As a result of said conduct, plaintiff suffered anxiety and distress

90. Said unlawful conduct was willful and knowing in nature.

91. On July 13, 2006, plaintiff sent to WCS via certified mail, receipt requested, a

demand for relief pursuant to G.L. c. 93A, section 9 which reasonably described the

unlawful conduct complained of and injuries suffered.

92. WCS received plaintiffs demand letter on July 14, 2006.

93. WCS did not make a reasonable written tender of settlement within 30 days of

receipt of plaintiff s demand letter.

94. The failure of WCS to make a timely and reasonable written tender of settlement was

in bad faith with knowledge or reason to know that its conduct violated G.L. c. 93A.
Class Allegations

95. Plaintiff brings this count of the complaint on behalf of himself and all others

similarly situated. Class members are all Massachusetts residents who, within 4 years of

the filing of this action, were sent one or more letters by WCS in connection with a

consumer debt containing the language described in paragraph 80 (or substantially

similar language), which letter was not returned to sender. Excluded from the class are

current and former officers directors, employees and agents of WCS. On information

and belief, the class is sufficiently numerous such that joinder is impracticable

96. There are questions of law and fact common to the class, which questions

predominate over any questions particular to individual class members The primary

common questions are whether WCS was engaged in trade or commerce, whether it had

the ability and authority to have class members’ accounts “removed” from credit bureaus,

and whether the subject language violated chapter 93A, section 2.

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97. Plaintiffs claim is typical in that it resulted from the same unlawful conduct, and
resulted in similar harm, as class members All class members seek, and are entitled to,
similar relief.

98. Plaintiff will fairly and adequately represent the interests of class members Plaintiff
is committed to a thorough and vigorous prosecution of this action, and has selected
counsel with substantial experience in consumer class action litigation Neither plaintiff
nor counsel have any conflicts which would interfere with the successful prosecution of
this case.

99, A class action is manageable and is a superior method for resolving this controversy,
as the claims of most class members are relatively small and thus would be unlikely to be
filed as individual actions

WHEREFORE, plaintiff prays that this Honorable Court :

(i) preliminarily and permanently enjoin WCS from using the language set
forth in paragraph 80, above, or substantially similar language, in any
letter or other communication directed to consumer debtors;

(ii) award plaintiff and class members the greater of their actual damages or
$25.00 per violation of G.L. c. 93A, §2;

(iii) double or treble all actual damages awarded;

(iv) award plaintiff and class members interest, costs, and attomey’s fees;

(v) award such further relief as shall be just and proper.

DEMANLFOR JURY TRIAL

Plaintiff requests trial by jury on all claims

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ROBERT J. THRELFALL
Plaintiff
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